                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                  C.A. No.: 1:17cv-525

TIMOTHY MEDLEY,

Plaintiff,

        vs.

BLUE CROSS & BLUE SHIELD OF NORTH CAROLINA SHORT TERM DISABILITY
PLAN,

            Defendant.
_______________________________________________


                                         Preliminary Statement

        Plaintiff brings this action under the Employee Retirement Income Security Act (ERISA)

29 U.S.C. § 1132(a)(1)(B) to seek entitlement and payment of short term disability (STD)

benefits under a self-funded short term disability policy issued by the Blue Cross & Blue Shield

of North Carolina Short Term Disability Plan.

                                              Parties

        1.     Plaintiff is a citizen and resident of High Point, North Carolina which is in

Guilford County.

        2.     Defendant is a self-funded benefit plan organized and existing pursuant to 29

U.S.C.S. § 1132. Upon information and belief, Defendant is an employee benefit plan providing

benefits for the employees of Blue Cross & Blue Shield of North Carolina.

                                     Jurisdiction and Venue

        3.     In this matter, Plaintiff seeks short term disability benefits under an ERISA plan

pursuant to 29 U.S.C. § 1132(a)(1)(B). This Court has jurisdiction to hear this matter based upon




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a federal question. Defendant is subject to jurisdiction in this court because it has more than

minimum contacts with this forum (see 29 U.S.C. § 1132(e)).

       4.       Venue in the Middle District of North Carolina is appropriate by virtue of

Plaintiff’s residence and Defendant’s presence and doing business in this District.

                                         Factual Allegations

       5.       Until November 2016, Plaintiff was employed with Blue Cross & Blue Shield of

North Carolina, and as an employee of Blue Cross & Blue Shield of North Carolina Plaintiff was

provided with STD coverage via a plan which was fully funded by Blue Cross & Blue Shield of

North Carolina.

       6.       Plaintiff became disabled because of certain problems from which he suffered.

Plaintiff was forced to cease working and he filed a claim for STD benefits.

       7.       Defendant denied Plaintiff’s claim effective November 28, 2016 through

Plaintiff’s return to work date.

       8.       Plaintiff appealed the STD denial and fully exhausted administrative remedies,

but Defendant has failed and refused to provide additional STD benefits.

                                  For a First Cause of Action
                       For Benefits Pursuant to 29 U.S.C. § 1132(a)(1)(B)

       9.       Plaintiff incorporates all prior allegations, where not inconsistent, as if fully set

forth herein.

       10.      Plaintiff respectfully requests that this Court consider the administrative record

compiled in this case and any other evidence relevant to any factors discussed by Champion v.

Black & Decker, 550 F.3d 353 (4th Cir. 2008), if applicable and depending on the standard of

review, and declare, pursuant to 29 U.S.C. §1132(a)(1)(B), that Plaintiff is entitled to the STD

benefits which he seeks under the terms of the plan. In the event that the court reviews the



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record and/or other relevant information and determines that the Defendant abused its discretion

or that its decision is not supported by the record, but that the substance of the record might not

support Plaintiff’s entitlement to benefits then Plaintiff respectfully asks that, in the event of such

a finding, that the court exercise its inherent power to remand Plaintiff’s claim for a “full and

fair” review by the appropriate claim fiduciary Defendant. Should the court award Plaintiff any

part of the relief requested, Plaintiff additionally prays that the Court award him attorney’s fees

and costs pursuant to 29 U.S.C. §1132(g).

       WHEREFORE, having fully stated his complaint against the Defendant, Plaintiff prays

for:

       1.      A declaration of entitlement to the short term disability benefits he seeks pursuant

               to 29 U.S.C. §1132(a)(1)(B);

       3.      Attorney’s fees and costs pursuant to 29 U.S.C. §1132(g); and

       4.      Such other and further relief as this Court deems just and proper, including pre-

               judgment interest on all benefits due from the point at which benefits were

               payable through the time of judgment.



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Date: June 9, 2017                             Attorneys for Plaintiff




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